      Case 1:10-cr-00265-OWW Document 34 Filed 09/17/10 Page 1 of 2
     Robert D. Wilkinson #100478
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 4
                           Defendant LUIS ABEL PERDA-PERDA
 5   Attorneys for

 6

 7

 8                                                         UNITED STATES DISTRICT COURT

 9                                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                            )   Case No. 1:10-CR-00265 OWW
                                                                          )
12                                                           Plaintiff,   )
                                                                          )   ORDER GRANTING EX PATE
13           v.                                                           )   APPLICATION FOR SUBPOENA
                                                                          )   DUCES TECUM PURSUANT TO
14   LUIS ABEL PERDA-PERDA, et al.,                                       )   FED.R.CRIM.P. 17(b) AND (c) ON
                                                                          )   BEHALF OF DEFENDANT LUIS
15                                                         Defendants.    )   ABEL PERDA-PERDA
                                                                          )
16                                                                        )
                                                                          )
17                                                                        )   COURTROOM:     Three
                                                                          )   JUDGE:         Hon. Oliver W. Wanger
18                                                                        )
                                                                          )
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                                                                          )
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21                         Good cause having been shown therefor, THE COURT HEREBY GRANTS

22   Defendant LUIS ABEL PERDA-PERDA’s Ex Parte Application for Subpoena Duces Tecum

23   Pursuant to Federal Rules of Criminal Procedure 17(b) and (c). In particular, the Court orders that

24   the Clerk’s office issue a subpoena duces tecum, in the form attached hereto, to the Modesto City

25   Attorney’s Office, directed to the attention of Deputy City Attorney James F. Wilson and his

26   assistant, Tara Davis at facsimile number (209) 544-8260 for:

27                         1.             The personnel files of Lieutenant David Sunday who witnessed and/or

28           participated in the arrest and interview of Defendant LUIS ABEL PERDA-PERDA



     ORDER GRANTING EX PARTE APPLICATION FOR SUBPOENA DUCES TECUM PURSUANT TO
     FED.R.CRIM.P. 17(b) AND (c) ON BEHALF OF DEFT. LUIS ABEL PERDA-PERDA
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 1             ("Perda") and his co-Defendants, SERGIO RIGOBERTO SORIA-TORRES and ADRIAN

 2             CRUZ-RIOS, for evidence of perjury or other like dishonesty, of coercive conduct, and/or

 3             of training and/or experience in interrogation techniques, in camera, to determine if those

 4             portions of the officer's personnel files ought to be made available to defense counsel for

 5             impeachment purposes.

 6   The COURT FURTHER ORDERS the clerk provide the issued subpoena to defense counsel who

 7   may present the subpoena to the U.S. Marshal’s Office for service as provided below.

 8                    Upon good cause shown, THE COURT FURTHER ORDERS authorization for the

 9   service and payment of witnesses by the U.S. Marshal.

10                    The issuance of this Order in no way suggests that an appropriate and timely

11   protective order may not be sought on behalf of the officers whose personnel files are being

12   sought.

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14             DATED: September 15, 2010                     /s/ OLIVER W. WANGER
                                                             United States District Judge
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     ORDER GRANTING EX PARTE APPLICATION FOR SUBPOENA DUCES TECUM PURSUANT TO
     FED.R.CRIM.P. 17(b) AND (c) ON BEHALF OF DEFT. LUIS ABEL PERDA-PERDA
